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 7   Attorneys for Plaintiff Ox Labs Inc.
 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10                                  WESTERN DIVISION
11
12    OX LABS INC., a California                     Case No.
      Corporation,
13                                                   COMPLAINT FOR
                   Plaintiff,                        CONVERSION AND UNJUST
14                                                   ENRICHMENT
                          vs.
15
      BITPAY, INC., a Delaware
16    Corporation, and Does 1-10,                    DEMAND FOR JURY TRIAL
17                 Defendants.
18
19         Plaintiff Ox Labs Inc. (“Ox Labs” or “Plaintiff”), through its undersigned

20   attorneys, brings this lawsuit against Defendant BitPay, Inc. (“BitPay” or

21   “Defendant”). Unless otherwise stated, Ox Labs makes the following allegations

22   upon personal knowledge. In order to remedy the harm arising from Defendant’s

23   illegal and unfair course of conduct, which has resulted in its unjust enrichment and

24   monetary harm to Plaintiff, Plaintiff alleges as follows and respectfully prays that

25   this Honorable Court order the relief sought herein.

26                                          PARTIES

27         1.     Plaintiff Ox Labs, Inc. is a California corporation with headquarters at

28   8839 S. Sepulveda Boulevard, Suite 102, Los Angeles, California, 90045.
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 1
           2.     Defendant BitPay, Inc. is a Delaware Corporation with headquarters at
 2
     8000 Avalon Boulevard, Suite 300, Fulton, Alpharetta, Georgia, 30009.
 3
           3.     Defendants Does 1 through 10 are individuals or business entities that
 4
     either directly participated in the wrongful acts or omissions alleged herein or aided
 5
     and abetted BitPay in such acts or omissions. Plaintiff is currently unaware of the
 6
     true names of the fictitiously named defendants, but it will move for leave to amend
 7
     this Complaint to sue them by their true names if and when their true names
 8
     become known.
 9
                                JURISDICTION & VENUE
10
           4.     This Court has subject matter jurisdiction under 28 U.S.C. § 1332
11
     because the parties are citizens of different states and the amount in controversy, as
12
     alleged further herein, exceeds the jurisdictional minimum of $75,000.
13
           5.     This Court has specific personal jurisdiction over Defendant because
14
     the transaction at issue herein was negotiated and completed by Plaintiff in its
15
     California headquarters, Defendant was aware of the fact and intended that Plaintiff
16
     would suffer monetary harm in California as a result of its wrongful acts and
17
     omissions, and the monetary harm suffered by Plaintiff as a result of Defendant’s
18
     wrongful acts occurred in California.
19
           6.     This Court also has general personal jurisdiction over Defendant
20
     because Defendant is registered with the Secretary of State to do business in
21
     California, maintains an agent for service of process in California, markets its
22
     services extensively to California-based individuals and businesses, and, upon
23
     information and belief, enters into hundreds of transactions annually with
24
     California-based individuals and businesses. Defendant’s website states: “We are
25
     currently the largest bitcoin payment processor in the world, serving industry-
26
     leading merchants on six continents. We’ve created a seamless, secure bitcoin
27
     payment experience used daily by hundreds of thousands of bitcoin users.” (See
28
                                               -2-
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 1
     <https://bitpay.com/about> visited Jan. 12, 2018.) As such, Defendant has
 2
     sufficient contacts with California, and purposefully avails itself of the benefits of
 3
     participation in the California marketplace sufficiently, to render the assumption of
 4
     jurisdiction by this Honorable Court consistent with traditional notions of fair play
 5
     and substantial justice.
 6
           7.     Venue is proper in this judicial district under 28 U.S.C. § 1391(b)(2)
 7
     because a substantial portion of the acts or omissions on which the claims herein
 8
     are based occurred in Los Angeles, California, the transaction at issue herein took
 9
     place in Los Angeles, California, Plaintiff is a resident of Los Angeles, California,
10
     and Plaintiff suffered the harm alleged herein in Los Angeles, California.
11
                                    FACTUAL ALLEGATIONS
12
           8.     Ox Labs, through a wholly-owned subsidiary, provides an advanced
13
     trading platform for professionals to exchange cryptocurrency, including but not
14
     limited to bitcoin.
15
           9.     Ox Labs’s customers, which include businesses and advanced traders,
16
     can open an account through Ox Lab’s subsidiary to buy and sell cryptocurrencies,
17
     review industry analytics and reports, monitor market prices and conditions, and
18
     receive many other benefits.
19
           10.    BitPay advertises itself as “the largest bitcoin payment processor in the
20
     world, serving industry-leading merchants on six continents.” (See
21
     <https://bitpay.com/about> visited Jan. 12, 2018.)
22
           11.    On or about July 10, 2015, BitPay deposited 1,100 bitcoin across
23
     several transactions for trading with Ox Labs.
24
           12.    At the conclusion of the deposit transactions, Ox Labs inadvertently
25
     credited BitPay with 1,300 bitcoin rather than 1,100 bitcoin.
26
           13.    At all times relevant herein, BitPay was aware that it had been over-
27
     credited 200 bitcoin but did not inform Ox Labs of the error. To the contrary,
28
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 1
     BitPay immediately withdrew the additional 200 bitcoin in an attempt to conceal
 2
     the error from Ox Labs.
 3
           14.       Upon information and belief, BitPay subsequently sold the 200 bitcoin
 4
     and kept the proceeds therefrom.
 5
           15.       On or about February 16, 2017, in connection with an account
 6
     reconciliation process, Ox Labs learned that it had wrongly over-credited the 200
 7
     bitcoin to BitPay and that BitPay had subsequently removed it from the Ox Labs
 8
     platform. Ox Labs was previously unaware of the error and in the exercise of
 9
     reasonable diligence had no reason to discover the error.
10
           16.       When notified of the error, BitPay acknowledged that it was not
11
     entitled to keep the 200 additional bitcoin it had received, but BitPay refused to
12
     return the 200 bitcoin to Ox Labs. Instead BitPay offered to pay a nominal sum
13
     that in no way reflected the value of the bitcoin it had wrongfully kept and sold for
14
     its own gain.
15
           17.       On or about August 1, 2017, the bitcoin network underwent a “hard
16
     fork” which resulted in anyone holding a bitcoin now also possessing a new digital
17
     asset – “Bitcoin Cash” on a 1:1 ratio.
18
           18.       On or about October 24, 2017, the bitcoin network underwent another
19
     “hard fork” which resulted in anyone holding a bitcoin now also possessing a new
20
     digital asset – “Bitcoin Gold” on a 1:1 ratio.
21
           19.       The value of 200 bitcoin traded on the date this Complaint is filed
22
     exceeds $1.29 million USD.
23
           20.       The value of 200 bitcoin cash traded on the date this Complaint is filed
24
     exceeds $144,000 USD.
25
           21.       The value of 200 bitcoin gold traded on the date this Complaint is filed
26
     exceeds $6,000 USD.
27
           22.       The parties’ subsequent attempts to resolve this dispute informally
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                                                 -4-
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 1
     have proven unsuccessful, and this lawsuit now follows.
 2
                                  CLAIMS FOR RELIEF
 3
                               FIRST CLAIM FOR RELIEF
 4                                    (Conversion)
 5
           23.   Plaintiff incorporates each allegation as set forth above.
 6
           24.   Defendant has wrongfully exercised dominion over 200 bitcoin
 7
     belonging to Ox Labs.
 8
           25.   Ox Labs owns and has the right to possess the 200 bitcoin wrongfully
 9
     withheld by Defendant.
10
           26.   Defendant’s withholding and sale of the 200 bitcoin and its refusal to
11
     return 200 bitcoin to Ox Labs are wrongful acts or omissions.
12
           27.   As a proximate result of Defendant’s wrongful acts and omissions, Ox
13
     Labs has been damaged in an amount to be determined according to proof.
14
                              SECOND CLAIM FOR RELIEF
15                                (Unjust Enrichment)
16
           28.   Plaintiff incorporates each allegation as set forth above.
17
           29.   Defendant has wrongfully acquired 200 bitcoin belonging to Ox Labs.
18
           30.   Defendant’s retention of the 200 bitcoin belonging to Ox Labs would
19
     unjustly enrich Defendant.
20
           31.   Common law principles and equity dictate that Defendant restore 200
21
     bitcoin to Ox Labs.
22
                                  PRAYER FOR RELIEF
23
24         32.   WHEREFORE, Plaintiff prays for judgment against Defendant as
     follows:
25
                 A. For an order requiring Defendant to restore 200 bitcoin to Ox Labs;
26
                 B. For an order requiring Defendant to provide 200 bitcoin cash to Ox
27
                 Labs;
28
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 1
                 C. For an order requiring Defendant to provide 200 bitcoin gold to Ox
 2
                 Labs;
 3
                 D. For an order awarding Ox Labs pre-and post-judgment interest;
 4
                 E. For an order awarding Ox Labs its costs of suit; and
 5
                 F. For an order providing such further relief as this Court deems just
 6
                 and proper.
 7
 8
     Dated: July 6, 2018                              Respectfully Submitted,
 9
                                                      LEIDER + AYALA-BASS LLP
10
                                            By:          /s/ Philip. A. Leider
11                                                     Philip A. Leider
12                                                    Attorneys for Ox Labs Inc.
13
14
15                             DEMAND FOR JURY TRIAL
16
           Plaintiff demands a trial by jury.
17
18
     Dated: July 6, 2018                              LEIDER + AYALA-BASS LLP
19
                                            By:          /s/ Philip. A. Leider
20                                                     Philip A. Leider
21                                                    Attorneys for Ox Labs Inc.
22
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